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                                                       1   Bart K. Larsen, Esq.
                                                           Nevada Bar No. 8538
                                                       2   Kyle M. Wyant, Esq.
                                                           Nevada Bar No. 14652
                                                       3   SHEA LARSEN
                                                           1731 Village Center Circle, Suite 150
                                                       4   Las Vegas, Nevada 89134
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                                                       6           kwyant@shea.law

                                                       7   Attorneys for HASelect-Medical Receivables
                                                           Litigation Finance Fund International SP
                                                       8

                                                       9                            UNITED STATES BANKRUPTCY COURT

                                                      10                                      DISTRICT OF NEVADA

                                                      11   In re:
                                                                                                                    Case No. 21-14486-abl
              1731 Village Center Circle, Suite 150




                                                      12   INFINITY CAPITAL MANAGEMENT, INC.                        Chapter 7
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13                         Debtor.
                        (702) 471-7432




                                                      14
                                                           HASELECT-MEDICAL RECEIVABLES                             Adversary Case No. 21-01167-abl
                                                      15   LITIGATION FINANCE FUND
                                                           INTERNATIONAL SP,
                                                      16                                                               DECLARATION OF BART K.
                                                                                 Plaintiff,                           LARSEN, ESQ. IN SUPPORT OF
                                                      17                                                            PLAINTIFF HASELECT-MEDICAL
                                                           v.                                                          RECEIVABLES LITIGATION
                                                      18                                                            FINANCE FUND INTERNATIONAL
                                                           TECUMSEH–INFINITY MEDICAL                                SP’S OPPOSITION TO TECUMSEH-
                                                      19   RECEIVABLES FUND, LP,                                    INFINITY MEDICAL RECEIVABLE
                                                                                                                        FUND, LP’S MOTION FOR
                                                      20                        Defendant.                           PARTIAL SUMMARY JUDGMENT
                                                                                                                        AS TO DIRECT PURCHASE
                                                      21                                                                     RECEIVABLES
                                                      22   TECUMSEH–INFINITY MEDICAL
                                                           RECEIVABLES FUND, LP,                                    Hearing Date: October 25, 2022
                                                      23                                                            Hearing Time: 1:30 p.m.
                                                                               Counter-Plaintiff,
                                                      24
                                                           v.
                                                      25
                                                           HASELECT-MEDICAL RECEIVABLES
                                                      26   LITIGATION FINANCE FUND
                                                           INTERNATIONAL SP; ROBERT E. ATKINSON,
                                                      27   CHAPTER 7 TRUSTEE
                                                      28                        Counter-Defendants.


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                                                       1
                                                           HASELECT-MEDICAL RECEIVABLES
                                                       2   LITIGATION FINANCE FUND
                                                           INTERNATIONAL SP,
                                                       3
                                                                                   Counter-Claimant,
                                                       4
                                                           v.
                                                       5
                                                           TECUMSEH–INFINITY MEDICAL
                                                       6   RECEIVABLES FUND, LP,
                                                       7                           Counter-Defendant.
                                                       8

                                                       9          I, Bart K. Larsen, hereby declare as follows:

                                                      10          1.      I am over the age of twenty-one (21) years old and am mentally competent. I have

                                                      11   personal knowledge of the matters set forth herein except as to those matters stated on information
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                                                      12   and belief, which I believe to be true, and if called upon as a witness to testify to these facts, I could
                   Las Vegas, Nevada 89134




                                                           and would competently and truthfully do so.
SHEA LARSEN




                                                      13
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                                                      14          2.      I have been licensed to practice law before all courts in the state of Nevada since

                                                      15   2003. I am partner in the law firm of Shea Larsen PC, which has served as counsel for HASelect-

                                                      16   Medical Receivables Litigation Finance Fund International SP (“HASelect”) in the chapter 7 case of

                                                      17   Infinity Capital Management, Inc. (“Infinity”) since approximately September 20, 2021 and in this

                                                      18   adversary proceeding since the filing of HASelect’s adversary complaint on October 19, 2021.

                                                      19          3.      I make this Declaration in support of HASelect’s Opposition to Tecumseh-Infinity

                                                      20   Medical Receivables Fund, LP’s (“Tecumseh”) Motion for Partial Summary Judgment as to Direct

                                                      21   Purchase Receivables [ECF No. 90] (the “Motion”).

                                                      22          4.      As of the filing of Infinity’s chapter 7 petition, Infinity owed in excess of $16 million

                                                      23   to HASelect under a series of secured loans for which HASelect held a perfected security interest in

                                                      24   substantially all of Infinity’s personal property, including its books and records. Such collateral

                                                      25   consisted primarily of accounts receivable that Infinity had purchased or funded through transactions

                                                      26   with over 100 different medical providers. Immediately upon learning of Infinity’s bankruptcy

                                                      27   filing, HASelect acted diligently to obtain relief from the automatic stay and to obtain control over

                                                      28   its collateral and possession of Infinity’s books and records.



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                                                       1
                                                                  5.      On or about October 24, 2021, HASelect gained access to Infinity’s physical office
                                                       2
                                                           in Henderson, Nevada and to what was left of Infinity’s computer systems and physical files upon
                                                       3
                                                           which HASelect discovered that a substantial number of records relating to Infinity’s business
                                                       4
                                                           operations and HASelect’s collateral were missing or incomplete. Moreover, those records that
                                                       5
                                                           remained were poorly organized and difficult to access without the use of the proprietary Case
                                                       6
                                                           Manager software developed by Infinity, which had been rendered unusable prior to Infinity’s
                                                       7
                                                           abandonment of its office.
                                                       8
                                                                  6.      As is thoroughly documents in filings on this Court’s docket in a separate adversary
                                                       9
                                                           proceeding HASelect filed against Infinity’s principals, Oliver Hemmers and Anne Pantelas, and
                                                      10
                                                           their new company, Infinity Health Solutions, LLC (“IHS”) (Adversary Case No. 22-01109),
                                                      11
                                                           HASelect’s efforts to obtain control over its collateral and possession of Infinity’s books and records
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                                                      12
                                                           have continually been frustrated by Hemmers and Pantelas’s attempts to secretly misappropriate and
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                                                      13
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                                                           transfer Infinity’s business records and intangible property to IHS as well as countless false
                                                      14
                                                           representations by Hemmers and Pantelas concerning Infinity’s dealings with Tecumseh and FTM
                                                      15
                                                           Limited and their business activities through IHS.
                                                      16
                                                                  7.      In an attempt to circumvent Hemmers and Pantelas efforts to conceal information,
                                                      17
                                                           HASelect has issued subpoenas for the production of documents to more than 20 different parties
                                                      18
                                                           through Infinity’s chapter 7 case. HASelect has also been diligent in conducting discovery in this
                                                      19
                                                           adversary proceeding through issuing discovery requests to Tecumseh and subpoenas for the
                                                      20
                                                           production of documents to various third parties. Yet, substantial gaps remain in HASelect’s
                                                      21
                                                           knowledge of Infinity’s business activities, including its relationships and dealings with Tecumseh
                                                      22
                                                           and FTM Limited and their respective principals, and Infinity’s use and handling of loan proceeds
                                                      23
                                                           received from HASelect and proceeds collected by Infinity from accounts receivable included within
                                                      24
                                                           HASelect’s collateral.
                                                      25
                                                                  8.      As such, additional discovery is needed to ascertain the nature and full extent of the
                                                      26
                                                           records created and maintained by Infinity in connection with its purchase and funding of the
                                                      27
                                                           accounts receivable at issue in this adversary proceeding as well as the location and status of all such
                                                      28


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                                                       1
                                                           records that have not yet been made available to HASelect. Such discovery includes the depositions
                                                       2
                                                           of Hemmers and Pantelas and, potentially, former employees of Infinity.
                                                       3
                                                                  9.      Additional discovery is also needed concerning the nature of the transactions between
                                                       4
                                                           Infinity and the medical providers through whom Infinity purchased and funded the accounts
                                                       5
                                                           receivable at issue.   Such discovery includes the depositions of Hemmers and Pantelas and,
                                                       6
                                                           potentially, former employees of Infinity as well as the depositions of the principals of Tecumseh
                                                       7
                                                           and HASelect. HASelect may also need to subpoena documents from and take the depositions of
                                                       8
                                                           representatives or certain medical providers, including Cuevas Diagnostics, LLC d/b/a Stat
                                                       9
                                                           Diagnostics, Preva Advanced Surgicare – The Woodlands, LLC, Viking Pain Management, LLC,
                                                      10
                                                           and possibly others.
                                                      11
                                                                  10.     HASelect is informed and believes that Infinity used one or more file sharing
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                                                      12
                                                           applications in addition to its Case Manager software to transmit information and records to
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SHEA LARSEN




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                                                           Tecumseh and FTM relating to the accounts receivable in dispute. HASelect has not been provided
                                                      14
                                                           access to any such applications or the information and records exchanged through those applications,
                                                      15
                                                           which it believes are directly relevant to the issues raised in Tecumseh’s Motion.
                                                      16
                                                                  11.     Additional discovery is also needed concerning the nature and extent of Infinity’s
                                                      17
                                                           dealings with Tecumseh and FTM Limited and their respective principals.              As set forth in
                                                      18
                                                           HASelect’s Opposition to the Motion and the supporting declaration of Michael Griffin, two of
                                                      19
                                                           Tecumseh’s principals are former employees of Griffin Asset Management LLC (“GAM”), serves
                                                      20
                                                           as asset manager to HASelect. Also, FTM Limited was engaged by HASelect to provide subadvisory
                                                      21
                                                           and fiduciary services in connection with the administration of HASelect’s loan to Infinity. As
                                                      22
                                                           outlined in the Opposition, HASelect has discovered evidence that those former employees and the
                                                      23
                                                           principals of FTM Limited improperly used confidential and proprietary knowledge they gained
                                                      24
                                                           through their employment with GAM and dealings with HASelect both in soliciting Infinity and in
                                                      25
                                                           soliciting investors to whom they were introduced through GAM to fund Tecumseh and otherwise
                                                      26
                                                           colluded with Infinity and FTM Limited to intentionally harm HASelect by stripping Infinity of the
                                                      27
                                                           assets that served as HASelect’s collateral and interfering in HASelect’s relationships with its
                                                      28


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                                                       1
                                                           investors. Such discovery includes the depositions of Hemmers and Pantelas and, potentially, former
                                                       2
                                                           employees of Infinity as well as the depositions of the principals of Tecumseh and HASelect.
                                                       3
                                                           HASelect expects it will also need to subpoena records from and take the depositions Three Bell
                                                       4
                                                           Capital as well as other third parties.
                                                       5
                                                                   12.     HASelect has received little, if any, information from Tecumseh concerning its own
                                                       6
                                                           business records relating to the accounts receivable in dispute or its communications with third
                                                       7
                                                           parties relating to Infinity and the accounts receivable in dispute in this matter. As such, additional
                                                       8
                                                           discovery is needed to ascertain the nature and extent of those records and communications.
                                                       9
                                                                   13.     The documents submitted in support of HASelect’s Opposition to the Motion as
                                                      10
                                                           Exhibits 6-13, 15-20, 22-24, 28-29, 31-38, and 40 are true and correct copies of either Infinity
                                                      11
                                                           business records surrendered to HASelect by Infinity following the filing of its chapter 7 case or
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                                                      12
                                                           documents produced to HASelect by third parties in response to subpoenas issued by HASelect.
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                                                      13
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                                                                   14.     I declare under penalty of perjury of the laws of the United States that the foregoing
                                                      14
                                                           is true and correct.
                                                      15
                                                                   DATED this 30th day of September 2022.
                                                      16
                                                                                                                   /s/ Bart K. Larsen, Esq.
                                                      17                                                           BART K. LARSEN, ESQ
                                                      18

                                                      19

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                                                       1                                  CERTIFICATE OF SERVICE

                                                       2     1. On September 30, 2022, I served the following document(s): DECLARATION OF BART
                                                                K. LARSEN, ESQ. IN SUPPORT OF MOTION FOR PARTIAL SUMMARY
                                                       3        JUDGMENT

                                                       4     2. I served the above document(s) by the following means to the persons as listed below:

                                                       5        ☒       a.     ECF System:

                                                       6        CLARISSE L. CRISOSTOMO on behalf of ROBERT E. ATKINSON
                                                                clarisse@nv-lawfirm.com, bknotices@nv-lawfirm.com
                                                       7
                                                                GERALD M GORDON on behalf of TECUMSEH-INFINITY MEDICAL
                                                       8        RECEIVABLES FUND, LP
                                                                ggordon@gtg.legal, bknotices@gtg.legal
                                                       9
                                                                GABRIELLE A. HAMM on behalf of TECUMSEH-INFINITY MEDICAL
                                                      10        RECEIVABLES FUND, LP
                                                                ghamm@Gtg.legal, bknotices@gtg.legal
                                                      11
                                                                MICHAEL D. NAPOLI on behalf of TECUMSEH-INFINITY MEDICAL
              1731 Village Center Circle, Suite 150




                                                      12        RECEIVABLES FUND, LP
                                                                michael.napoli@akerman.com,
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13        cindy.ferguson@akerman.com;catherine.kretzschmar@akerman.com;laura.taveras@akerm
                        (702) 471-7432




                                                                an.com;masterdocketlit@akerman.com;teresa.barrera@akerman.com
                                                      14
                                                                ARIEL E. STERN on behalf of TECUMSEH-INFINITY MEDICAL RECEIVABLES
                                                      15        FUND, LP
                                                                ariel.stern@akerman.com, akermanlas@akerman.com
                                                      16
                                                                ☐       b.     United States mail, postage fully prepaid:
                                                      17
                                                                ☐       c.     Personal Service:
                                                      18
                                                                I personally delivered the document(s) to the persons at these addresses:
                                                      19
                                                                       ☐       For a party represented by an attorney, delivery was made by handing the
                                                      20        document(s) at the attorney’s office with a clerk or other person in charge, or if no one is in
                                                                charge by leaving the document(s) in a conspicuous place in the office.
                                                      21
                                                                       ☐       For a party, delivery was made by handling the document(s) to the party or
                                                      22        by leaving the document(s) at the person’s dwelling house or usual place of abode with
                                                                someone of suitable age and discretion residing there.
                                                      23
                                                                ☐       d.     By direct email (as opposed to through the ECF System):
                                                      24
                                                                Based upon the written agreement of the parties to accept service by email or a court order,
                                                      25        I caused the document(s) to be sent to the persons at the email addresses listed below. I did
                                                                not receive, within a reasonable time after the transmission, any electronic message or other
                                                      26        indication that the transmission was unsuccessful.

                                                      27        ☐       e.     By fax transmission:

                                                      28        Based upon the written agreement of the parties to accept service by fax transmission or a


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                                                       1        court order, I faxed the document(s) to the persons at the fax numbers listed below. No
                                                                error was reported by the fax machine that I used. A copy of the record of the fax
                                                       2        transmission is attached.

                                                       3        ☐      f.      By messenger:

                                                       4        I served the document(s) by placing them in an envelope or package addressed to the
                                                                persons at the addresses listed below and providing them to a messenger for service.
                                                       5
                                                                I declare under penalty of perjury that the foregoing is true and correct.
                                                       6
                                                                Dated: September 30, 2022.
                                                       7                                              By: /s/ Bart K. Larsen, Esq,

                                                       8

                                                       9

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                                                      11
              1731 Village Center Circle, Suite 150




                                                      12
                   Las Vegas, Nevada 89134
SHEA LARSEN




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                        (702) 471-7432




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